                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

OSCAR SMITH,                                          )
                                                      )
        Plaintiff,                                    )       CAPITAL CASE
v.                                                    )       No. 3:22-cv-00280
                                                      )
WILLIAM LEE, in his official capacity as              )       JUDGE Trauger
Governor of the State of Tennessee;                   )
                                                      )
HERBERT SLATERY, in his official                      )       EXECUTION SCHEDULED:
capacity as the Attorney General of the               )       APRIL 21, 2022 at 7:00 p.m.
State of Tennessee;                                   )
                                                      )
LISA HELTON, in her official capacity as              )
the Interim Commissioner of the                       )
Tennessee Department of Correction;                   )
                                                      )
and,                                                  )
                                                      )
TONY MAYS, in his official capacity as                )
Warden of Riverbend Maximum Security                  )
Institution,                                          )
                                                      )
        Defendants.                                   )



                  DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFF’S EMERGENCY MOTION AND MEMORANDUM IN SUPPORT FOR
                     TEMPORARY RESTRAINING ORDER


        Plaintiff has filed a complaint for injunctive and declaratory relief (D.E. 1) and a motion

for a temporary restraining order (D.E. 3.), in which he asks the court to enjoin Defendants from

carrying out his execution, which is scheduled to occur two days from now on April 21, 2022.

Plaintiff contends that two recent Tennessee state court decisions violate procedural due process

and his right of access to courts.      Accordingly, Plaintiff asks this Court (1) to declare as

unconstitutional on their face and as applied by the state courts certain Tennessee statutes the state


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courts have interpreted and (2) to enjoin Defendants from proceeding with his execution until the

state courts provide him with a proceeding that he deems “adequate.” (D.E. 1, PageID# 12 ¶ 3.)

       Plaintiff’s motion for a temporary restraining order should be denied because this Court

lacks subject matter jurisdiction over both claims under the Rooker-Feldman doctrine, Plaintiff

has not stated a claim upon which relief can be granted, and the Defendants are immune from suit

because they do not enforce the statutes that Plaintiff challenges. 1

                                 PROCEDURAL BACKROUND

       A jury convicted Plaintiff and sentenced him to death for the 1989 triple murders of his

estranged wife and her 16-year-old and 13-year-old sons by a previous marriage. He had shot and

stabbed his victims to death. State v. Smith, 868 S.W.2d 561, 565 (Tenn. 1993). Since “these

tragic, brutal and bizarre murders,” id. at 565, Plaintiff has spent over 30 years contesting his

conviction and sentence in state and federal courts. 2




1
  Defendants make a limited appearance in this matter solely to respond due to this Court’s order,
(D.E. 10); however, Defendants assert they are not yet within the jurisdiction of the court because
they have not received proper service under Fed. R. Civ. P. 4.
2
 Plaintiff has launched at least nine attacks on his conviction or sentence, resulting in the following
decisions listed in chronological order: Smith, 868 S.W.2d 561 (Tenn. 1993); Smith v. State, No.
01C01-9702-CR-00048, 1998 WL 345353 (Tenn. Crim. App. June 30, 1998), perm. app. denied
(Tenn. Jan. 25, 1999); Smith v. Bell, No. 3:99-cv-0731, 2005 WL 2416504 (M.D. Tenn. Sept. 30,
2005); Smith v. Bell, 381 Fed. Appx. 547 (6th Cir. 2010); Smith v. Colson, No. 10-8629, 566 U.S.
901 (May 14, 2012); Smith v. Colson, No. 12-390, 569 U.S. 1015 (June 3, 2013); West v. Schofield,
468 S.W.3d 482 (Tenn. 2015); Smith v. State, No. M2016-01869-CCA-R28-PD (Tenn. Crim. App.
Oct. 19, 2016), perm. app. denied (Tenn. Feb. 16, 2017); West v. Schofield, 519 S.W.3d 550 (Tenn.
2017); Smith v. Carpenter, No. 3:99-cv-0731, 2018 WL 317429 (M.D. Tenn. Jan. 8, 2018); Smith
v. State, No. M2019-01662-CCA-R28-PD (Tenn. Crim. App. Oct. 28, 2019), perm. app. denied
(Tenn. Jan. 15, 2020); Abdur’Rahman v. Parker, 558 S.W.3d 606, 610 (Tenn, cert. denied sub
nom. Zagorski v. Parker, 139 S. Ct. 11 (2018), and cert. denied sub nom. Miller v. Parker, 139 S.
Ct. 626 (2018), and cert. denied, 139 S. Ct. 1533 (2019); Smith v. Parker, No. 3:19-cv-01138,
2020 WL 1853593 (M.D. Tenn. April 13, 2020); Smith v. State, No. M2020-00485-CCA-R3-ECN,
2020 WL 5870566 (Tenn. Crim. App. Oct. 2, 2020), perm. app. denied (Tenn. Oct. 10, 2020);
Smith v. State, No. M2020-00493-CCA-R28-PD (Tenn. Crim. App. May 1, 2020), perm. app.

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        Most recently, Plaintiff attacked his conviction in the form of a request for the Criminal

Court of Davidson County to reopen his post-conviction proceedings based on what he claims is

evidence of an unknown person’s DNA on a suspected murder weapon. (D.E. 1-3, PageID# 37.)

The state trial court denied this motion, finding that Plaintiff failed to demonstrate—as required

by Tennessee law—either (1) that there is a “reasonable probability” the new information would

have “prevented [his] prosecution or conviction,” or (2) that he could “prove by clear and

convincing evidence that the DNA evidence establishes he is actually innocent.” (Id. at 44, 47-

48.) On appeal, the Tennessee Court of Criminal Appeals affirmed the trial court’s decision, noting

that in light of the extensive circumstantial evidence against Plaintiff this “new” information did

not establish “that he is actually innocent of the murders of the victims.” Smith v. State, No.

M2022-00455-CCA-R3-PD, 2022 WL 1115034, at *5 (Tenn. Crim. App. Apr. 14, 2022), perm.

app. denied (Tenn. Apr. 18, 2022).

        Plaintiff now asks this Court to evaluate the “Tennessee courts’ interpretation” of

Tennessee law in these two cases and enjoin Defendants from carrying out the sentence of death

“until such time as the State of Tennessee provides a constitutionally adequate hearing.” (D.E. 1,

PageID# 8-10 ¶¶ 26-33, 36, PageID# 11-12 ¶ 3.)

            REASONS FOR REFUSING TO ISSUE A RESTRAINING ORDER

I.      Standard for Granting Temporary Restraining Order

        A stay of execution is an equitable remedy that is not available as of right. Hill v.

McDonough, 547 U.S. 573, 584 (2006). Federal Rule of Civil Procedure 65 governs the Court’s

power to grant a temporary restraining order. In determining whether to grant a temporary



denied (Tenn. Aug. 5, 2020); Smith v. State, No. M2021-01339-CCA-R3-PD, 2022 WL 854438
(Tenn. Crim. App. Mar. 23, 2022).


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restraining order, a district court must consider the following four factors: (1) the movant’s

likelihood of success on the merits; (2) whether the movant will suffer irreparable harm without

the injunction; (3) whether granting the injunction will cause substantial harm to others; and (4)

the impact of the injunction on the public interest. See, e.g., Workman v. Bredesen, 486 F.3d 896,

905 (6th Cir. 2007). When—as in this case—a movant asks the court to stay a state’s enforcement

of its criminal judgments, the burden of the first factor is even greater, and the movant “must show

a ‘significant possibility of success on the merits’ . . . to obtain a stay.” Wilson v. Strickland, 333

F. App’x 28, 32 (6th Cir. 2009) (quoting Workman v. Bell, 484 F.3d 837, 839 (6th Cir. 2007)). 3

The first factor is also dispositive. Ohio Republican Party v. Brunner, 543 F.3d 357, 362 (6th Cir.

2008) (finding that, because the plaintiffs had little likelihood of success on the merits, the court

“need not address the other three factors for determining whether to grant a TRO or preliminary

injunction”).

         A temporary restraining order is extraordinary relief and should be granted only if the

movant carries his burden of proving that the circumstances clearly demand it. Overstreet v.

Lexington-Fayette Urban Cty. Gov’t, 305 F.3d 566, 573 (6th Cir. 2002). A movant has not carried

his burden if, among other reasons, the Court lacks subject matter jurisdiction over a claim, Fowler

v. Benson, 924 F.3d 247, 254 (6th Cir. 2019), or if he fails to state a claim upon which relief can

be granted, Whitaker v. Livingston, 732 F.3d 465, 467 (5th Cir. 2013).

II.      Plaintiff Cannot Show a Significant Likelihood of Success on the Merits of His Claims.

         Plaintiff has not carried his burden under the first factor of the temporary-restraining-order

standard. This Court does not have the authority to review an appeal from a state-court decision




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   “The court permits citation of any unpublished opinion, order, judgment, or other written
disposition.” U.S. Ct. of App. 6th Cir. R. 32.1(a).

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and, therefore, lacks subject matter jurisdiction over Plaintiff’s allegations. Each of Plaintiff’s

counts also fails to state a claim upon which relief can be granted. And Defendants are immune

from suit in this case because they do not enforce the statutes that Plaintiff challenges. Thus,

Plaintiff’s motion for a temporary restraining order should be denied.

       A.      The Court’s Review of this Complaint Is Barred Because the Court Lacks
               Jurisdiction to Review an Appeal of Tennessee State-Court Decisions.

       This Court “must dismiss” any claim over which it lacks subject matter jurisdiction. Fed.

R. Civ. P. 12(h)(3). “Where subject matter jurisdiction is challenged . . . the plaintiff has the

burden of proving jurisdiction in order to survive . . . .” Arnold v. Slatery, No. 19-6017, 2020 WL

3406067, at *2 (6th Cir. Mar. 17, 2020) (quoting Moir v. Greater Cleveland Reg’l Transit Auth.,

895 F.2d 266, 269 (6th Cir. 1990)). Federal courts lack subject matter jurisdiction if a claim does

not present case or controversy, Mokdad v. Sessions, 876 F.3d 167, 169 (6th Cir. 2017), or if

jurisdiction over the claim belongs “exclusively” to another court, Exxon Mobil Corp. v. Saudi

Basic Indus. Corp., 544 U.S. 280, 283 (2005).

       Congress granted exclusive jurisdiction to the United States Supreme Court to review final

judgments of state courts. 28 U.S.C. § 1257(a); Rooker v. Fidelity Trust Co., 263 U.S. 413, 416

(1923). The Rooker-Feldman doctrine operates to preserve that Congressional delegation of

appellate jurisdiction. When state courts decide a constitutional issue—right or wrong—they

exercise jurisdiction. Rooker, 263 U.S. at 415. The wrongness of a decision does not deprive the

state court of jurisdiction so as to make the judgment void, “but merely [leaves] it open to reversal

or modification in an appropriate and timely appellate proceeding.” Id. Until the state court’s

decision is reversed or modified on appeal, it is a conclusive adjudication. Id. The Rooker-

Feldman bar on district-court consideration of cases over which the Supreme Court has exclusive

jurisdiction applies to “cases brought by state-court losers complaining of injuries caused by state-



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court judgments rendered before the district court proceedings commenced and inviting district

court review and rejection of those judgments.” Exxon Mobil Corp., 544 U.S. at 284.

       This is one of those cases. Plaintiff lost his attempts to reopen his post-conviction

proceedings in state court before filing this lawsuit. (D.E. 1, PageID# 3 ¶ 10, 5-6 ¶¶ 14-17.)

Tennessee courts considered the merits of Plaintiff’s DNA evidence and concluded it was not

sufficient, in light of “extensive evidence of [Plaintiff’s] guilt introduced at trial,” to merit

reopening post-conviction proceedings. Smith, 2022 WL 1115034, at *3-4. Now Plaintiff asks

this Court to review and undermine these state court decisions by issuing relief based entirely on

the arguments that the state courts violated Plaintiff’s constitutional rights.

       Plaintiff asks this Court to enjoin the State of Tennessee from executing him until

Tennessee state courts provide him with an “adequate” hearing. (D.E. 1, PageID# 11-12 ¶ 3.) He

argues that he is entitled to this relief due to the following actions of Tennessee state courts:

   •   “Tennessee courts’ interpretation of [Tennessee statutes] have placed insurmountable
       roadblocks to Plaintiff, “

   •   A Tennessee state “court has read into Tennessee law a rule that petitioners may not access
       the court if ‘extensive evidence’ of their guilt was introduced at trial,”

   •   A Tennessee “court created an unconstitutional hurdle that renders [Tennessee] statutes
       toothless and ensures that petitioners cannot vindicate their liberty interests,”

   •   “The Tennessee courts have similarly imposed an unconstitutional barrier upon Plaintiff
       by reading [Tennessee law] as requiring a Plaintiff to satisfy, at the pleading stage, a
       standard wherein he was required to demonstrate his innocence by ‘clear and convincing
       evidence,’”

   •   Tennessee courts have “constructed” Tennessee statutes in a manner that places “tall
       burden upon a petitioner” and “is fundamentally unfair and violates [Plaintiff’s] dupe
       process” rights, and

   •   “Tennessee courts” have “authoritatively construed” Tennessee law to “impose
       unreasonable barriers to court access not contemplated by the legislature.”




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(D.E. 1, PageID# 8-11 ¶¶ 26-28, 30-31, 33, 36.) This is, transparently, an improper attempt to

obtain federal judicial review of a state court decision, but as the Supreme Court held in one of the

very cases upon which Plaintiff relies: “a state-court decision is not reviewable by lower federal

courts.” Skinner v. Switzer, 562 U.S. 521, 532-33 (2011). Thus, the Rooker-Feldman doctrine

bars this complaint.

        This conclusion does not change even though Plaintiff seeks a declaration that certain

Tennessee statutes are unconstitutional facially and as applied to him. (D.E. 1, PageID# 11 ¶ 2.)

In answering whether Rooker-Feldmen bars a complaint because the source of an injury is a state-

court judgment, courts are permitted to examine the “request for relief.” Tubbs v. Long, No. 3:20-

CV-00477, 2022 WL 508895, at *6 (M.D. Tenn. Feb. 17, 2022) (quoting In re Isaacs, 895 F.3d

904, 912 (6th Cir. 2018)). Here, while Plaintiff seeks declaration of a statute unconstitutional,

Plaintiff does not allege that the statute itself is the cause of the alleged injury. Indeed, Plaintiff’s

complaint lacks the necessary allegations for a facial challenge: it does not allege that there are

“that there are no circumstances under which the statute can be applied in a constitutional manner.”

Id. at *8. On the contrary, it suggests that the statutes would be constitutional in his eyes if state

courts only interpreted them differently. (D.E. 1, PageID# 7 ¶ 24, 8 ¶ 27, 9 ¶ 29, 10 ¶ 31.)

        At best, the challenge must be described only as an as-applied challenge. See Durham v.

Haslam, 528 F. App’x 559, 563-64 (6th Cir. 2013) (finding that a plaintiff asserted an as-applied

challenge that is barred under Rooker-Feldman rather than a “general challenge to a state statute”

because “the plaintiff alleges that a state court interpreted and applied a state statute to her case in

an unconstitutional manner”); Tubbs, 2022 WL 508895, at *11 (“Though it appears at points in

her Complaint that Plaintiff has attempted to present her claims in such a way as to enable them to

avoid the application of Rooker-Feldman, no artful pleading can change the reality—as revealed




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in other parts of her Complaint—that Plaintiff's claims are premised on an injury the source of

which places her claims within the scope of Rooker-Feldman.”). And, as this Court has recently

recognized, Rooker-Feldmen bars review of an as-applied challenge to the constitutionality of a

state court’s interpretation of a state statute. Tubbs, 2022 WL 508895, at *10. Because Rooker-

Feldmen bars review of this complaint, Plaintiff is unlikely to succeed on the merits.

       B.      Plaintiff fails to state a claim upon which relief can be granted.

             1.         Plaintiff has not alleged facts showing a procedural due process
                        violation.

       Plaintiff’s motion argues that he was denied due process when the Tennessee state courts

rejected his requested relief under the Post-Conviction DNA Analysis Act of 2001 (the “DNA

Analysis Act”). See Tenn. Code Ann. § 40-30-312. Plaintiff insists, without any supporting law,

that “[t]he Tennessee courts interpretation of the DNA [Analysis] Act and Motion to Reopen

statute have placed insurmountable roadblocks to Plaintiff, rendering those statutes unavailable to

him, in violation of his procedural due process rights.” (D.E. 1, at PageID# 7.)

       As recognized by the Supreme Court in Medina v. California, 505 U.S. 437 (1992), a

state’s regulatory action is “not subject to proscription under the Due Process Clause unless ‘it

offends some principle of justice so rooted in the traditions and conscience of our people as to be

ranked as fundamental.’” Medina, 505 U.S. at 445 (quoting Patterson v. New York, 432 U.S. 197,

201–02 (1977)). This test applies to “state procedural rules which . . . are part of the criminal

process.” Id. at 443.

       In this instance, Plaintiff’s allegations concern the final stage of his criminal sentence—the

date his execution will be carried out—and, as the Sixth Circuit recently noted, the “criminal

sentence” is “an integral part of the criminal process.” United States v. McShan, 757 F. App’x

454, 467 n.6 (6th Cir. 2018), cert. denied, 139 S. Ct. 2032 (2019), reh’g denied, 140 S. Ct. 21, 204



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(2019), and cert. denied, 139 S. Ct. 2650 (2019). Accordingly, “to the extent his claim sounds in

due process, it should be evaluated under the test set forth in Medina v. California.” Id.

         However, Plaintiff’s motion fails to demonstrate how Tennessee’s procedures for

consideration of DNA testing claims under the DNA Analysis Act fundamentally “offend” the

principles of justice. Medina, 505 U.S. at 445 (quoting Patterson, 432 U.S. at 201–02). The DNA

Analysis Act allows, under certain circumstances, individuals convicted of certain crimes,

including first degree murder, to obtain DNA testing of certain evidence at any time. See Tenn.

Code Ann. §§ 40-30-301 through -313. Under that statute the trial court shall order DNA analysis

if it finds:

         (1)    A reasonable probability exists that the petitioner would not have been
         prosecuted or convicted if exculpatory results had been obtained through DNA
         analysis;

         (2)   The evidence is still in existence and in such a condition that DNA analysis
         may be conducted;

         (3)    The evidence was never previously subjected to DNA analysis or was not
         subjected to the analysis that is now requested which could resolve an issue not
         resolved by previous analysis; and

      (4)    The application for analysis is made for the purpose of demonstrating
      innocence and not to unreasonably delay the execution of sentence or
      administration of justice.
Tenn. Code Ann. § 40-30-304 (emphasis added). The trial court may order DNA testing if a

“reasonable probability exists that analysis of the evidence will produce DNA results that would

have rendered the petitioner’s verdict or sentence more favorable if the results had been available

at the proceeding leading to the judgment of conviction” and elements (2) through (4) listed in

subsection -304 are met. Tenn. Code Ann. § 40-30-305 (emphasis added).

         Earlier this year, Plaintiff sought, and was granted by agreed order, additional DNA testing

of the awl recovered at the crime scene. That testing utilized “touch DNA” to compare DNA taken




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from two fingerprints found on the awl to determine whether the DNA profiles of those fingerprints

matched either the plaintiff or any of the three victims in the case. Ultimately, the testing reaffirmed

what was already presented to the jury—that Plaintiff’s fingerprints were not found on the awl.

(Attachment A, Trial Record, p. 1973.) The testing also confirmed that a major male contributor

of the awl’s DNA was, in fact, the victim, Chad Burnett.

        Plaintiff sought relief pursuant to a motion to reopen his state post-conviction

proceedings/and or for review under the DNA Analysis Act. After thoroughly considering the

“new” DNA evidence, and the entirety of the existing record, in the light most favorable to

Plaintiff, the trial court denied relief because “there is not a reasonable probability that the recently

discovered DNA evidence would have prevented [Plaintiff’s] prosecution or conviction.” (D.E. 1-

3, PageID# 47.) On appeal, the TCCA affirmed after concluding that the trial court properly

analyzed Plaintiff’s motion and correctly determined that “there was not a reasonable probability

that the DNA evidence would have prevented Petitioner’s prosecution or conviction or would have

resulted in a more favorable conviction or sentence.” Smith v. State, No. M2022-00455-CCA-R3-

PD, 2022 WL 1115034, at *5 (Tenn. Crim. App. Apr. 14, 2022).

        Simply put, nothing about the above procedures for consideration of DNA testing claims

under the DNA Analysis Act fundamentally “offend” the principles of justice under Medina and,

therefore, Plaintiff’s complaint fails to state a claim upon which relief can be granted. Plaintiff

does not seriously attempt to identify any fundamental principle the state-court decisions violated.

He simply complains that the standard they applied was too demanding, and he could not meet it.

But the weakness of his innocence claim is not a basis for finding a due process violation.

        To that end, it is helpful to consider just how weak his innocence claim is. First, Plaintiff’s

motion mistakenly refers to the awl as the “murder weapon” when, in actuality, the murder




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weapons in this case, a .22 caliber handgun and a knife, were never recovered. (Attachment A,

Trial Record, pp. 2559-2623.). The awl only made puncture wounds to the bodies of two of the

victims and, as stated above, the jury was made aware that Plaintiff’s prints were not found on the

awl. Id. at p. 1973.

       Second, the DNA evidence proffered by Plaintiff fails to undermine or contradict any of

the extensive evidence establishing his guilt. Prior to the murders, Plaintiff and the victim, Judith,

separated after a violent confrontation between the Plaintiff and Judith’s thirteen-year-old son,

Jason, where Plaintiff had put a gun to Jason’s head during an argument and proceeded to fire a

shot into the air. Id. at pp. 1868-71. After this incident a warrant was sworn out against Plaintiff

by Judith. A short time later, a second incident occurred which led to Judith swearing out a second

warrant against Plaintiff for aggravated assault. Id. at p. 2191.

       Additionally, Plaintiff threatened to kill the victim, Judith, multiple times, including mere

weeks before the murders. Id. at pp. 1808-09, 2309, 2317-18. He also solicited multiple people to

kill Judith prior to her murder. Id. at pp. 2264-65, 88-89. Then, eight months before the murders

(February 1989), Plaintiff took out multiple life insurance policies for the victims, including a

$20,000 policy for Judith and $5,000 policies for both Chad and Jason. Id. at pp. 2207-08. In

March of 1989, Plaintiff took out additional life insurance policies with a separate life insurance

company, insuring Judith again for $20,000, but this time insuring Chad and Jason for $10,000

each. Id. at p. 2199. These policies were in addition to the life insurance for each victim that had

been in effect since 1985 with yet another life insurance company. Id. at p. 2248.




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       On the night of the murders, Plaintiff’s car was observed at the victim’s house between 11

and 11:15 pm. 4 Id. at pp. 2150, 2253, 2651, 2871-72. A 911 call was also received that night by

the Metro-Nashville Police Department where one of the victims, later identified as Jason, can he

heard yelling “Help me!” as a second victim, identified as Chad, screams Plaintiff’s name in the

background saying, “Frank, no, God, help me!” 5 Id. at pp. 1812, 1880.

       Following, the discovery of the victims the next day, police noted that there was no sign of

forced entry, indicating that the victims knew the assailant. Id. at p. 1944, 1970. During the

investigation of the house, a leather awl was recovered at the scene along with a cotton work glove.

Id. at p. 1954-55, 1962. Leather-working tools were recovered from Plaintiff’s trailer during a

search conducted less than two weeks after the murders, and Plaintiff admitted that he was a leather

crafts enthusiast. Id. at pp. 2367-70, 2253. Similarly, a live .22 caliber cartridge was found in

Plaintiff’s house, although the .22 caliber weapon that was used was never recovered. Id. at pp.

2019, 2366. Evidence also showed that Plaintiff owned a .22 caliber pistol that he presented to a

co-worker and was seen firing at a local shooting range before the murders. Id. at pp. 2230-31.

And a palm print made in blood was found on the sheet near the victim’s body which showed the

same two missing fingers that Plaintiff’s does not have on his left hand. Id. at p. 1947, 1992.

       Later, after the discovery of the bodies, when Detectives confronted Plaintiff at his home,

he never asked why they wanted to talk with him, nor did he ever ask why he was being questioned.

Id. at pp. 2334, 2338, 2349, 2648). During questioning Plaintiff also referred to victims in the past



4
 The victims were killed between 11:20 and 11:30 pm. (Attachment A, Trial Record, pp. 2559-
2623).
5
 Plaintiff’s middle name is Frank which is the name Plaintiff always went by to friends and family.
(Attachment A, Trial Record, pp. 1808, 1868). In fact, two leather belts were recovered inside
Plaintiff’s home after the murders, both with the name “Frank” on them. Id. at pp. 2367-68.
Plaintiff also testified that he went by the name Frank. Id. at p. 2857.

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tense repeatedly before being told they had been killed. Id. at pp. 2353, 2648. Even after being

informed of the murders Plaintiff never asked officers logical questions such as where, when, how,

or by whom. Id. at pp. 2354, 2649. Plaintiff also had noticeable abrasions to his right hand, right

elbow, left back and shoulder blade—which were photographed and shown to the jury. Id. at pp.

1992, 2355-57.

         Simply put, the presence of an unknown person’s DNA on the awl does not establish

Plaintiff’s innocence. This is not an extraordinary case where a constitutional violation has resulted

in the conviction of an innocent person and, as explained more fully below the societal interests in

finality, comity, and conservation of scarce judicial resources requires that his court deny

Plaintiff’s motion.

              2.        Plaintiff has not alleged facts showing a violation of the right-of-access
                        to courts.

         Plaintiff also argues his execution should be stayed because he has been deprived of access

to the courts. This allegation fails for much the same reasons as explained in the proceeding section

and because the Complaint itself demonstrates that Plaintiff has received adequate access to state

court.

         The right of access to courts is a component of the First Amendment right to petition the

government for redress of grievances. See Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 741

(1983). While prisoners have a constitutionally protected right of access to the courts that right is

not unrestricted. Lewis v. Casey, 518 U.S. 343, 355 (1996). “In order to state a claim for denial of

meaningful access to the courts, . . . plaintiffs must plead and prove prejudice stemming from the

asserted violation,” such as “the late filing of a court document or the dismissal of an otherwise

meritorious claim.” Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th Cir. 1996) (citing Lewis, 518 U.S.

at 351-52). Similarly, the Supreme Court has held that “the underlying cause of action . . . is an



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element that must be described in the complaint, just as much as allegations must describe the

official acts frustrating the litigation.” Christopher v. Harbury, 536 U.S. 403, 415 (2002).

Specifically, a party must allege, inter alia, that defendants “prevented him from filing a non-

frivolous legal claim.” Clark v. Corr. Corp. of Am., 113 F. App'x 65, 67-68 (6th Cir. 2004)

(emphasis added).

        Here, Petitioner’s motion and complaint do not meet these requirements. Plaintiff fails to

show that he was prejudiced because his underlying actual innocence claim is unavailing, and he

fails to allege any official act which frustrated his litigation. On the contrary, multiple state courts

reviewed Plaintiff’s motion to reopen post-conviction proceedings and DNA Analysis Act motion.

Thus, he has not established a likelihood of succeeding on the merits of his access-to-courts claim.

        C.     Defendants are immune from suit in this matter because they do not enforce
               the Tennessee statutes at issue.

        Plaintiff has named as defendants the Governor of Tennessee, the Attorney General of

Tennessee, the Interim Commissioner of the Tennessee Department of Correction, and the Warden

of Riverbend Maximum Security Institution. These Defendants are immune from suit in this action

under the Eleventh Amendment because they do not enforce the Tennessee laws that Plaintiff asks

this Court to declare unconstitutional: the DNA Analysis Act, Tenn. Code Ann. §§ 40-30-301 to -

313, and the motion to reopen statute, Tenn. Code Ann. § 40-30-117(a)(2). 6 (D.E. 1, PageID# 11

¶ 2.)

        Each “State is a sovereign entity in our federal system.” Seminole Tribe of Fla. v. Florida,

517 U.S. 44, 54 (1996). A “fundamental aspect” of that sovereignty is immunity from suit. Alden

v. Maine, 527 U.S. 706, 713 (1999). The Eleventh Amendment itself “confirms” that a State is



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 Although Plaintiff included allegations about the Motion to Reopen Statute, he did not ask the
Court to grant any relief regarding this statute. (D.E. 1, PageID# 11 ¶ 2.)

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not “amenable to the suit of an individual without its consent.” Seminole Tribe, 517 U.S. at 54

(quoting Hans v. Louisiana, 134 U.S. 1, 11 (1890)). And a “‘suit against a state official in his or

her official capacity is not a suit against the official,’” see Russell v. Lundergan-Grimes, 784 F.3d

1037, 1046 (6th Cir. 2015) (quoting Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989));

it “is a suit against the State itself,” id. (citing Kentucky v. Graham, 473 U.S. 159, 165–66 (1985)).

That is true “regardless of whether [the suit] seeks damages or injunctive relief.” EMW Women’s

Surgical Ctr., P.S.C. v. Beshear, 920 F.3d 421, 444-45 (6th Cir. 2019) (quoting Pennhurst State

Sch. & Hosp. v. Halderman, 465 U.S. 89, 102 (1984)).

       Here, the named Defendants are state officials. See Tenn. Const. art. III, § 1, art. VI, § 5.

And they have been sued in their official capacities. (D.E. 1.) So this action “is a suit against the

State itself,” Russell, 784 F.3d at 1046, which means that the Eleventh Amendment is a “true

jurisdictional bar” to the suit unless an exception applies, id.

             1.        The Ex parte Young exception applies when a State official enforces or
                       has threatened to enforce an allegedly unconstitutional law.

       The Supreme Court established an exception to a State’s Eleventh Amendment sovereign

immunity in Ex parte Young, 209 U.S. 123 (1908). There, the Court held that the plaintiffs could

seek an injunction in federal court against a state official to prohibit him from enforcing an

allegedly unconstitutional state law. Id. at 159-68. This exception to State sovereign immunity

rests on the “fiction,” Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 270 (1997), that “a

suit challenging the constitutionality of a state official’s action is not one against the State.”

Pennhurst, 465 U.S. at 102. The Ex parte Young exception, though, does not “permit a federal-

court action to proceed in every case where prospective declaratory and injunctive relief is sought”

against a state official. Coeur d’Alene Tribe of Idaho, 521 U.S. at 270. Such an interpretation

“would be to adhere to an empty formalism” and would “undermine” the purpose of the Eleventh



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Amendment. Id.; see also Virginia Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 268 (2011)

(Roberts, C.J., dissenting) (observing that while the Court has “consistently acknowledged the

important role Ex parte Young plays in ‘promot[ing] the vindication of federal rights,’” it has also

been “cautious not to give that decision ‘an expansive interpretation’” (quoting Pennhurst, 465

U.S. at 105, 102)). Instead, the Ex parte Young exception permits suits to proceed only where the

state official has “some connection with the enforcement of the [allegedly unconstitutional

statute].” Ex parte Young, 209 U.S. at 157. That connection “is the important and material fact”

that allows the claim to proceed. Id.

       Because a state official’s connection with enforcement is essential, the Sixth Circuit has

consistently held that “[g]eneral authority to enforce the laws of the state is not enough to make

government officials the proper parties to litigation challenging the law.” Children’s Healthcare

Is a Legal Duty, Inc. v. Deters, 92 F.3d 1412, 1416 (6th Cir. 1996) (quoting 1st Westco Corp. v.

Sch. Dist. Of Phila., 6 F.3d 108, 113 (3d Cir. 1993)); see id. (holding the Eleventh Amendment

barred suit against a state attorney general because the plaintiffs were “not complaining of any

action by” the attorney general and the attorney general had not threatened enforcement); cf.

Russell, 784 F.3d at 1046-47 (applying the Ex parte Young exception because a state attorney

general’s office had jurisdiction to investigate and prosecute violations of the challenged election

laws, had “repeatedly fielded and investigated complaints of impermissible electioneering,” and

had “promised the public that it would pursue possible criminal sanctions”). For the Ex parte

Young exception to apply, “[t]here must be ‘a realistic possibility the official will take legal or

administrative actions against the plaintiff’s interests.’” EMW Women’s Surgical Ctr., 920 F.3d

at 445 (quoting Russell, 784 F.3d at 1048).

             2.        The Ex parte Young exception does not apply here.




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       The Ex parte Young exception does not apply here because not one of the Defendants has

any role in enforcing, regulating, or otherwise executing the provisions of the DNA Analysis Act

or the motion-to-reopen statute that Plaintiff challenges. See Tenn. Code Ann. §§ 40-30-304 to -

305. Rather, under these statutes a state court has authority to “order DNA analysis.” And, if the

results of the DNA analysis are favorable for an inmate then a state court may “order a hearing”

and “make orders as are required.” Tenn. Code Ann. § 40-30-312. And a state court must decide

whether a petitioner has alleged facts that would establish “by clear and convincing evidence that

[he] is entitled to have the conviction set aside or the sentence reduced.” Tenn. Code Ann. § 40-

30-117(a)(4), (b).

       Defendants, conversely, lack any authority to enforce these statutes because all authority

to act is reserved to the judicial discretion of state courts. This lack of any connection between

Defendants and enforcement of the challenged statutes mandates dismissal on sovereign-immunity

grounds. See EMW Women’s Surgical Ctr., 920 F.3d at 446; Children’s Healthcare, 92 F.3d at

1416-17. And, the clear enforcement authority reserved to state courts under the DNA Analysis

Act and motion-to-reopen statute further demonstrates how this entire complaint is a challenge to

state-court actions that, as discussed in Part II Section A is barred by Rooker-Feldman.


III.   The State’s Interest in Enforcing Its Criminal Judgments Weighs Heavily Against
       Enjoining Plaintiff’s Execution.

       The second factor of the temporary restraining order standard—irreparable injury—weighs

in Defendants’ favor. Plaintiff argues that, because his sentence of death will soon be enforced, he

will suffer an irreparable injury if a temporary restraining order is not issued. (D.E. 3, PageID#

121.) However, a finding of irreparable injury is only mandated if Plaintiff shows a significant

possibility that he will succeed on the merits of his claims that his constitutional rights are




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impaired. Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001). As discussed above, Plaintiff is

unlikely to succeed on the merits of any of his claims.

          The third factor—harm to others—also weighs in Defendants’ favor. Victims have a state

constitutional right to the prompt resolution of a case and sentence. Tenn. Const. art. I, § 35; see

also Tenn. Code Ann. § 40-38-105. Depriving them of this right causes them harm.

          Finally, the fourth factor—public interest—weighs against a stay of Plaintiff’s execution.

“Both the State and the victims of crime have an important interest in the timely enforcement of a

sentence.” Bucklew, 139 S. Ct. at 1133. To protect this interest, the Supreme Court has held that

“[l]ast-minute stays [to executions] should be the extreme exception, not the norm, and ‘the last-

minute nature of an application’ that ‘could have been brought’ earlier . . . ‘may be grounds for

denial of a stay.’” Id. at 1134 (quoting Hill v. McDonough, 547 U.S. 573, 584 (2006)); Nelson v.

Campbell, 541 U.S. 637, 650 (2004). Plaintiff waited until late evening on April 18, 2022, only

three days before his execution date, to file a motion for a temporary restraining order. (D.E. 12.)

The last-minute nature of this motion combined with the State’s interest in the timely enforcement

of its sentence weigh heavily against granting a stay of execution.

                                          CONCLUSION

          For the reasons stated, Plaintiff’s motion for a temporary restraining order should be

denied.

                                                          Respectfully Submitted,



                                                          HERBERT H. SLATERY III
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Response in Opposition has
been filed and served electronically to the following parties via the Court’s electronic filing
system on this the 19th day of April, 2022:
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